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    8
                              UNITED STATES DISTRICT COURT
    9
                            CENTRAL DISTRICT OF CALIFORNIA
   10

   11   THE WINSFORD                          Case No: CV12-3343 RSWL (PJWx)
        CORPORATION
   12                                         STIPULATED CONSENT JUDGMENT
                     Plaintiff,               AND PERMANENT INJUNCTION
   13
               vs.                            Judge: Hon. Ronald S. W. Lew
   14
        CENTRAL SPECIALTIES LTD.              Complaint Filed: April 17, 2012
   15
                     Defendant.
   16

   17

   18          WHEREAS, plaintiff The Winsford Corporation (“Winsford”) and
   19   defendant Central Specialties Ltd. (“CSL”) have entered into a Settlement
   20   Agreement of all matters here in controversy and have agreed that all claims
   21   asserted in this action should consequently be terminated with an injunction against
   22   CSL,
   23          IT IS HEREBY STIPULATED, by the parties, through their counsel, AND
   24   IT IS HEREBY ORDERED, by this Court, that:
   25          1. The Court has jurisdiction over the parties and the subject matter of the
   26   dispute and the Settlement Agreement.
   27          2. Winsford is the owner of a design (“Design Mark”), and that Design
   28   Mark is protected by United States Trademark No. 1,682,820 and California
                                                                       STIPULATED JUDGMENT
                                                                CASE NO: CV12-3343 RSWL (PJWX)
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    1   Registered Trademark No. 90,138 (“Trademark Registrations”). Winsford owns
    2   all right, title, and interest in the Design Mark and the Trademark Registrations.
    3   The Trademark Registrations are valid, enforceable, and subsisting.
    4          3. CSL, its agents, servants, employees, affiliates, successors-in-interest and
    5   those in active concert or participation with any of them shall be, and hereby are
    6   permanently enjoined from using any design or mark that is identical to or
    7   confusingly similar to the Design Mark, including those designs featured in CSL’s
    8   “Sphere Style” and “Diamond Style” products as identified in the Settlement
    9   Agreement. As part of this injunction:
   10                 (a) CSL shall not make, have made, use, import, offer for sale,
   11                      advertise, sell or otherwise make available any product whose
   12                      design is identical to or confusingly similar to the Design Mark;
   13                      and
   14                 (b) CSL shall not assist or induce any other person or entity to make,
   15                      have made, use, import, offer for sale, advertise, sell or otherwise
   16                      make available any product whose design is identical to or
   17                      confusingly similar to the Design Mark.
   18          4. This Court shall retain jurisdiction to consider and determine any breach
   19   of the Settlement Agreement entered into between the parties hereto and those
   20   parties agree that any matter arising out of or relating to that Settlement Agreement
   21   shall be litigated in this Court.
   22          IT IS SO ORDERED.
   23

   24          Dated: May 18, 2012                            RONALD S.W. LEW
                                                              ________________________
   25
                                                              Hon. Ronald S. W. Lew
                                                              United States District Judge
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                                                                        STIPULATED JUDGMENT
                                                                 CASE NO: CV12-3343 RSWL (PJWX)
